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                                           4                    IN THE UNITED STATES DISTRICT COURT
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                                                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                               CURTIS BERRIEN, ROSE HUERTA, TINA               No. C 10-3125 CW
                                           8   MUSHARBASH, FERN PROSNITZ, MICHAEL
                                               ANDLER, MARCUS BONESS, TIMOTHY                  ORDER GRANTING
                                           9   BONNELL, RICHARD BUFORD, ELAINE                 PLAINTIFFS’ MOTION
                                               CEFOLA, KENNETH DAVIS, JEROME                   FOR CLASS
                                          10   GAROUTTE, on behalf of themselves and           CERTIFICATION
                                               all others similarly situated,                  (Docket No. 44)
For the Northern District of California




                                          11
    United States District Court




                                                         Plaintiffs,
                                          12
                                                  v.
                                          13
                                               NEW RAINTREE RESORTS INTERNATIONAL,
                                          14   LLC; RVC MEMBERS, LLC; DOUGLAS Y.
                                               BECH,
                                          15
                                                         Defendants.
                                          16                                           /
                                          17
                                                    Plaintiffs Curtis Berrien, Rose Huerta, Tina Musharbash, Fern
                                          18
                                               Prosnitz, Michael Andler, Marcus Boness, Timothy Bonnell, Richard
                                          19
                                               Buford, Elaine Cefola, Kenneth Davis and Jerome Garoutte charge
                                          20
                                               Defendants New Raintree Resorts International, LLC (RRI); RVC
                                          21
                                               Members, LLC; and Douglas Y. Bech with intentional interference
                                          22
                                               with contractual relations and violations of California’s Unfair
                                          23
                                               Competition Law (UCL), Cal. Bus. & Prof. Code §§ 17200, et seq.
                                          24
                                               Plaintiffs now move for class certification.        Defendants oppose
                                          25
                                               Plaintiffs’ motion.    The motion was heard on June 9, 2011.       Having
                                          26
                                               considered oral argument and the papers submitted by the parties,
                                          27
                                               the Court GRANTS Plaintiffs’ motion for class certification.
                                          28
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                                           1                                   BACKGROUND
                                           2           Plaintiffs are California residents and members of the
                                           3   Raintree Vacation Club.     Club membership is similar to a vacation
                                           4   timeshare insofar as it entitles Club members to access Club-
                                           5   affiliated vacation resorts.      However, unlike traditional timeshare
                                           6   arrangements, Club members do not own an interest in any real
                                           7   property.    Instead, they purchase “a beneficial trust interest in a
                                           8   specific Club resort property,” and assign that interest to non-
                                           9   party RVC Exchange, LLC, in exchange for a Club membership.           Compl.
                                          10   ¶ 20.    This transaction is governed by a written agreement,
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                                          11   generally entered into with RVC Exchange, which is a subsidiary of
    United States District Court




                                          12   RRI.
                                          13           Plaintiffs allege that RRI directs the operation of the Club
                                          14   and that RVC Members, another RRI subsidiary, manages the Club-
                                          15   affiliated resorts.    Bech is the chief executive officer of RRI and
                                          16   a principal of both RRI and RVC Exchange.        Defendants are not
                                          17   parties to the contracts associated with Plaintiffs’ memberships.
                                          18   Compl. ¶ 22.
                                          19           In June 2009, Bech sent a letter to Plaintiffs and other Club
                                          20   members, informing them that a “Special Assessment” would be
                                          21   charged to “fund and implement needed improvements” at Club-
                                          22   affiliated resorts.    Levine Decl., Ex. I at BONNELL00049.         Bech
                                          23   explained that various maintenance and upgrade projects had been
                                          24   deferred because of “continuously rising operating and energy
                                          25   costs.”    Id.   A credit card authorization form sent along with
                                          26   billing statements for the Special Assessment stated that Club
                                          27   members would be barred from making reservations at Club-affiliated
                                          28   resorts until the Special Assessment was paid in full.            Several

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                                           1   Club members complained.        On July 2, 2009, Defendants withdrew the
                                           2   Special Assessment.       A postcard sent to Club members indicated that
                                           3   Special Assessment payments made would be refunded.            The postcard,
                                           4   however, also stated that there were plans to “re-issue the Special
                                           5   Assessment” in the future.        Id., Ex. M.
                                           6          In or about November 2009, another Special Assessment was
                                           7   charged and made payable to RVC Members.          A credit card
                                           8   authorization form related to this Special Assessment, like the one
                                           9   associated with the earlier one, stated that Club members would be
                                          10   precluded from making reservations if their Special Assessment
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                                          11   payments were not current.        The Club’s website likewise stated,
    United States District Court




                                          12   “Any Member whose account is not current will not be able to use
                                          13   their Membership to make or use reservations.”           Levine Decl., Ex.
                                          14   P.
                                          15          Plaintiffs complain that Defendants charged the Special
                                          16   Assessment without authority to do so.          They seek to certify a
                                          17   class of individuals defined as: “All persons who reside in the
                                          18   State of California and were charged the Special Assessment that
                                          19   was issued to owners of Raintree Vacation Club and related
                                          20   timeshare interests in or around October or November 2009.”
                                          21   Plaintiffs represent, and Defendants do not dispute, that the
                                          22   proposed class encompasses more than 5,000 Club members.
                                          23   Plaintiffs ask that they be appointed as class representatives and
                                          24   that their counsel, Girard Gibbs LLP, be named as class counsel.
                                          25                                    LEGAL STANDARD
                                          26          Plaintiffs seeking to represent a class must satisfy the
                                          27   threshold requirements of Rule 23(a) as well as the requirements
                                          28   for certification under one of the subsections of Rule 23(b).            Rule

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                                                 Case 4:10-cv-03125-CW Document 75 Filed 08/15/11 Page 4 of 18



                                           1   23(a) provides that a case is appropriate for certification as a
                                           2   class action if: “(1) the class is so numerous that joinder of all
                                           3   members is impracticable; (2) there are questions of law or fact
                                           4   common to the class; (3) the claims or defenses of the
                                           5   representative parties are typical of the claims or defenses of the
                                           6   class; and (4) the representative parties will fairly and
                                           7   adequately protect the interests of the class.”         Fed. R. Civ. P.
                                           8   23(a).
                                           9        Rule 23(b) further provides that a case may be certified as a
                                          10   class action only if one of the following is true:
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                                          11        (1) prosecuting separate actions by or against individual
                                                    class members would create a risk of:
    United States District Court




                                          12
                                                         (A) inconsistent or varying adjudications with
                                          13             respect to individual class members that would
                                                         establish incompatible standards of conduct for the
                                          14             party opposing the class; or
                                          15             (B) adjudications with respect to individual class
                                                         members that, as a practical matter, would be
                                          16             dispositive of the interests of the other members
                                                         not parties to the individual adjudications or would
                                          17             substantially impair or impede their ability to
                                                         protect their interests;
                                          18
                                                    (2) the party opposing the class has acted or refused to
                                          19        act on grounds that apply generally to the class, so that
                                                    final injunctive relief or corresponding declaratory
                                          20        relief is appropriate respecting the class as a whole; or
                                          21        (3) the court finds that the questions of law or fact
                                                    common to class members predominate over any questions
                                          22        affecting only individual members, and that a class
                                                    action is superior to other available methods for fairly
                                          23        and efficiently adjudicating the controversy. The
                                                    matters pertinent to these findings include:
                                          24
                                                         (A) the class members’ interests in individually
                                          25             controlling the prosecution or defense of separate
                                                         actions;
                                          26
                                                         (B) the extent and nature of any litigation
                                          27             concerning the controversy already begun by or
                                                         against class members;
                                          28

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                                           1             (C) the desirability or undesirability of
                                                         concentrating the litigation of the claims in the
                                           2             particular forum; and
                                           3             (D) the likely difficulties in managing a class
                                                         action.
                                           4
                                               Fed. R. Civ. P. 23(b).
                                           5
                                                    Plaintiffs seeking class certification bear the burden of
                                           6
                                               demonstrating that each element of Rule 23 is satisfied, and a
                                           7
                                               district court may certify a class only if it determines that the
                                           8
                                               plaintiffs have borne their burden.       Gen. Tel. Co. of Sw. v.
                                           9
                                               Falcon, 457 U.S. 147, 158-61 (1982); Doninger v. Pac. Nw. Bell,
                                          10
                                               Inc., 564 F.2d 1304, 1308 (9th Cir. 1977).        The court must conduct
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                                          11
                                               a “‘rigorous analysis,’” which may require it “‘to probe behind the
    United States District Court




                                          12
                                               pleadings before coming to rest on the certification question.’”
                                          13
                                               Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011)
                                          14
                                               (quoting Falcon, 457 U.S. at 160-61).        “Frequently that ‘rigorous
                                          15
                                               analysis’ will entail some overlap with the merits of the
                                          16
                                               plaintiff’s underlying claim.      That cannot be helped.”        Dukes, 131
                                          17
                                               S. Ct. at 2551.   To satisfy itself that class certification is
                                          18
                                               proper, the court may consider material beyond the pleadings and
                                          19
                                               require supplemental evidentiary submissions by the parties.
                                          20
                                               Blackie v. Barrack, 524 F.2d 891, 901 n.17 (9th Cir. 1975).
                                          21
                                                                               DISCUSSION
                                          22
                                                    Defendants do not argue that Plaintiffs do not meet Rule
                                          23
                                               23(a)’s numerosity, commonality and adequacy requirements.           Having
                                          24
                                               considered Plaintiffs’ papers, the Court concludes that Plaintiffs
                                          25
                                               satisfy these requirements.
                                          26
                                                    Defendants argue, however, that Plaintiffs do not demonstrate
                                          27
                                               that they would be adequate class representatives, that common
                                          28

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                                           1   questions of fact predominate over individual issues and that a
                                           2   class action would be a superior method of adjudication.
                                           3   Defendants’ arguments are considered below.
                                           4   I.     Adequacy
                                           5          Rule 23(a)(4) of the Federal Rules of Civil Procedure
                                           6   establishes as a prerequisite for class certification that “the
                                           7   representative parties will fairly and adequately protect the
                                           8   interests of the class.”        This can only be done if the named
                                           9   plaintiffs do not have conflicts of interest with other class
                                          10   members.     Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir.
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                                          11   1998).     However, the mere potential for a conflict of interest is
    United States District Court




                                          12   not sufficient to defeat class certification; the conflict must be
                                          13   actual, not hypothetical.        See Cummings v. Connell, 316 F.3d 886,
                                          14   896 (9th Cir. 2003) (“[T]his circuit does not favor denial of class
                                          15   certification on the basis of speculative conflicts.”); Soc. Servs.
                                          16   Union, Local 535 v. Cnty. of Santa Clara, 609 F.2d 944, 948 (9th
                                          17   Cir. 1979) (“Mere speculation as to conflicts that may develop at
                                          18   the remedy stage is insufficient to support denial of initial class
                                          19   certification.”); Blackie, 524 F.2d at 909 (noting that class
                                          20   members might have differing interests at later stages of
                                          21   litigation, but that “potential conflicts” do not present a valid
                                          22   reason for refusing to certify a class).1
                                          23          Defendants identify five conflicts of interest that Plaintiffs
                                          24   and other putative class members may have with other members of the
                                          25
                                                      1
                                                      Defendants cite Valley Drug Co. v. Geneva Pharmaceuticals,
                                          26   Inc., in which the Eleventh Circuit held that named plaintiffs with
                                               potential conflicts with the interests of the absent class members
                                          27   were not adequate class representatives. 350 F.3d 1181, 1189 (11th
                                               Cir. 2003). This conclusion does not appear to comport with Ninth
                                          28   Circuit precedent.

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                                           1   proposed class.2      The Court considers each separately below.
                                           2          A.      Intra-class Conflict Between Putative Class Members Who
                                                              Have Paid the Special Assessment and Those Who Have Not
                                           3                  Paid
                                           4          Defendants note that approximately seventy percent of the
                                           5   putative class has paid the Special Assessment.         They argue that
                                           6   this statistic undercuts Plaintiffs’ contention that the Special
                                           7   Assessment was improper.      They also contend that the statistic
                                           8   demonstrates that some putative class members favor upgrades and
                                           9   renovations to the Club-affiliated resorts.        Defendants assert
                                          10   that, if Plaintiffs were to prevail, the putative class would be
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                                          11   harmed.
    United States District Court




                                          12          The seventy-percent statistic does not demonstrate that
                                          13   Plaintiffs’ interests conflict with those of the proposed class or
                                          14   that an intra-class conflict exists.       Although many putative class
                                          15   members may have paid the Special Assessment, it does not follow
                                          16   that the charge was authorized or that Club members believed it
                                          17   was.       As noted above, to enjoy their memberships, Club members were
                                          18   required to pay the Special Assessment.
                                          19          Furthermore, that Plaintiffs are challenging the Special
                                          20   Assessment is not contrary to other Club members’ potential
                                          21   interest in upgrading and renovating a facility.         Defendants’
                                          22   reliance on Langbecker v. Electronic Data Systems Corp., 476 F.3d
                                          23   299 (5th Cir. 2007), is unavailing.       In Langbecker, the Fifth
                                          24   Circuit identified several intra-class conflicts, including one
                                          25   based on the plaintiffs’ request for the dissolution of an
                                          26   investment vehicle in which some class members may have desired to
                                          27
                                                      2
                                                      Defendants do not challenge the adequacy of Plaintiffs’
                                          28   counsel.

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                                           1   continue investing.    Id. at 315.    Here, Plaintiffs are not seeking
                                           2   to deprive absent class members of a product or service they enjoy.
                                           3   Defendants’ assertion that putative class members would be harmed
                                           4   if Plaintiffs prevail is unsupported.       There is no evidence that
                                           5   Plaintiffs’ success would cause existing upgrades or renovations to
                                           6   be dismantled.   Nor do Defendants contend that they would cease
                                           7   making improvements to the Club-affiliated resorts.         Indeed,
                                           8   Defendants note that Plaintiffs “have not sought to halt the
                                           9   renovations and upgrades being funded by the Special Assessment.”
                                          10   Defs.’ Opp’n at 9:1-2.     Further, Defendants exact maintenance fees
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                                          11   from Club members, indicating that Defendants were obliged to
    United States District Court




                                          12   maintain the resorts.
                                          13        Accordingly, the distinction between paying and non-paying
                                          14   putative class members does not pose a fundamental conflict that
                                          15   precludes class certification.
                                          16        B.    Intra-Class Conflict Between Putative Class Members Who
                                                          Support Upgrades and Those Who Do Not
                                          17
                                                    Defendants’ second argument is similar to their first.           Citing
                                          18
                                               various declarations, Defendants contend that some putative class
                                          19
                                               members desire upgrades and renovations, whereas others do not.
                                          20
                                               Defendants again suggest that, if Plaintiffs were to prevail,
                                          21
                                               existing upgrades and renovations would be removed and no further
                                          22
                                               improvements would be made.     However, there is no evidence to this
                                          23
                                               effect.   Thus, the harm that Defendants threaten is not
                                          24
                                               substantiated.
                                          25
                                                    Accordingly, that some putative class members may desire
                                          26
                                               upgrades and others may not does not pose a fundamental conflict
                                          27
                                               that precludes class certification.
                                          28

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                                                 Case 4:10-cv-03125-CW Document 75 Filed 08/15/11 Page 9 of 18



                                           1          C.    Intra-Class Conflict Between Active and Inactive Club
                                                            Members
                                           2
                                                      Defendants argue that there is a fundamental intra-class
                                           3
                                               conflict between current, or active, Club members and former, or
                                           4
                                               inactive, Club members.     They assert that those in the latter
                                           5
                                               category have no incentive to support renovations at the Club-
                                           6
                                               affiliated resorts.
                                           7
                                                      This purported conflict simply rehashes Defendants’ previous
                                           8
                                               arguments.    Although it is likely true that inactive Club members
                                           9
                                               no longer have an interest in improving the facilities, this is not
                                          10
                                               contrary to active members’ likely desire for renovations.
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                                          11
                                                      Accordingly, that some putative class members may have active
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                                          12
                                               Club memberships and others may not does not pose a fundamental
                                          13
                                               conflict that precludes class certification.
                                          14
                                                      D.    Intra-Class Conflict Between Individuals Who Use Their
                                          15                Membership Frequently And Those Who Do Not
                                          16          Defendants assert that the interests of putative class members
                                          17   who make regular use of their membership conflict with the
                                          18   interests of those who use their membership infrequently.         This
                                          19   argument, however, is based on the same unpersuasive contention
                                          20   that some putative class members may favor upgrades and others may
                                          21   not.   Accordingly, that class members may differ in the frequency
                                          22   with which they use their memberships does not pose a fundamental
                                          23   conflict that precludes class certification.
                                          24          E.    Intra-Class Conflict Between Class Members Who Prefer a
                                                            One-Time Assessment Over an Increase in Annual
                                          25                Maintenance Fees
                                          26          Defendants contend that Plaintiffs’ challenge to the Special
                                          27   Assessment conflicts with the interests of class members who prefer
                                          28   a one-time fee assessment over an increase in annual maintenance

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                                           1   dues.    They argue that a one-time fee permits Club members to
                                           2   realize benefits more quickly.      However, Defendants do not offer
                                           3   evidence that the one-time Special Assessment hastened improvements
                                           4   at the Club-affiliated resorts.      Thus, there is no actual conflict
                                           5   between Plaintiffs and putative class members who desire to pay any
                                           6   Special Assessment as a one-time lump sum.
                                           7           Defendants do not present any actual fundamental conflicts
                                           8   between Plaintiffs and the proposed class, and Plaintiffs’ papers
                                           9   demonstrate that they can serve as adequate class representatives.
                                          10   Accordingly, the Court concludes that the adequacy requirement is
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                                          11   met.
    United States District Court




                                          12   II.     Predominance
                                          13           “The predominance inquiry of Rule 23(b)(3) asks whether
                                          14   proposed classes are sufficiently cohesive to warrant adjudication
                                          15   by representation.     The focus is on the relationship between the
                                          16   common and individual issues.”      In re Wells Fargo Home Mortgage
                                          17   Overtime Pay Litig., 571 F.3d 953, 957 (9th Cir. 2009) (internal
                                          18   quotation marks and citations omitted).        “‘When common questions
                                          19   present a significant aspect of the case and they can be resolved
                                          20   for all members of the class in a single adjudication, there is
                                          21   clear justification for handling the dispute on a representative
                                          22   rather than on an individual basis.’”       Hanlon, 150 F.3d at 1022
                                          23   (quoting 7A Charles Alan Wright, Arthur R. Miller & Mary Kay Kane,
                                          24   Federal Practice & Procedure § 1777 (2d ed. 1986)).          A court must
                                          25   make “some prediction as to how specific issues will play out in
                                          26   order to determine whether common or individual issues predominate
                                          27   . . . .”    In re New Motor Vehicles Canadian Export Antitrust
                                          28   Litig., 522 F.3d 6, 20 (1st Cir. 2008) (citation and internal

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                                                 Case 4:10-cv-03125-CW Document 75 Filed 08/15/11 Page 11 of 18



                                           1   quotation marks omitted).
                                           2        Below, the Court considers each cause of action to determine
                                           3   whether common issues predominate with regard to that cause of
                                           4   action.
                                           5        A.     Claim for Intentional Interference with Contractual
                                                           Relations
                                           6
                                                    To prevail on a claim for intentional interference with
                                           7
                                               contractual relations, a plaintiff must prove “(1) a valid contract
                                           8
                                               between plaintiff and a third party; (2) defendants’ knowledge of
                                           9
                                               the contract; (3) defendants’ intentional acts designed to induce a
                                          10
                                               breach or disruption of the contractual relationship; (4) actual
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                                          11
                                               breach or disruption of the contractual relationship; and
    United States District Court




                                          12
                                               (5) resulting damage.”     Tuchscher Dev. Enters., Inc. v. San Diego
                                          13
                                               Unified Port Dist., 106 Cal. App. 4th 1219, 1239 (2003) (citations
                                          14
                                               omitted).   Defendants contend that common questions of fact do not
                                          15
                                               predominate with respect to the fourth and fifth elements of this
                                          16
                                               claim.
                                          17
                                                    Defendants argue that the determination of whether an actual
                                          18
                                               breach occurred will require an individualized inquiry into whether
                                          19
                                               each Club member’s sales representative discussed the potential for
                                          20
                                               a Special Assessment.     This is because, according to Defendants,
                                          21
                                               although Club members’ agreements did not provide for Special
                                          22
                                               Assessments, the contracts did not bar their use and such charges
                                          23
                                               might have been permissible.      This argument is not persuasive.   The
                                          24
                                               record does not show that the agreements contained any term
                                          25
                                               concerning Special Assessments, and Defendants do not identify any
                                          26
                                               provision that may be susceptible of an interpretation that they
                                          27
                                               were authorized.    See Wolf v. Superior Court, 114 Cal. App. 4th
                                          28

                                                                                    11
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                                           1   1343, 1350-51 (2004) (noting that, under California law, courts
                                           2   must provisionally admit extrinsic evidence to determine whether
                                           3   contract provision is reasonably susceptible of a particular
                                           4   meaning); see also Trident Center v. Conn. Gen. Life Ins. Co., 847
                                           5   F.2d 564, 568-69 (9th Cir. 1988).         Indeed, Defendants do not assert
                                           6   that the contracting parties intended to include Special
                                           7   Assessments as part of the agreement.        Thus, an individualized
                                           8   inquiry involving extrinsic evidence, such as sales
                                           9   representatives’ statements, is not necessary.
                                          10        Defendants also point to the fact that some Plaintiffs and
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                                          11   putative class members paid a Special Assessment imposed in 2001
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                                          12   and 2002.    Defendants contend that these payments require an
                                          13   individualized inquiry into whether these Club members believed
                                          14   that the Special Assessment was consistent with the terms of their
                                          15   contracts.   A course of conduct could provide insight into
                                          16   contracting parties’ intent and be relevant to interpreting
                                          17   potentially ambiguous terms of a contract.        Wolf, 114 Cal. App. 4th
                                          18   at 1356.    However, as noted above, Defendants identify no
                                          19   contractual provision on which this conduct could shed light.          As a
                                          20   result, an investigation into each paying Plaintiff or class
                                          21   member’s understanding is unnecessary.
                                          22        Finally, Defendants assert that damage, or injury, cannot be
                                          23   demonstrated with common proof.      However, Plaintiffs maintain that
                                          24   putative class members who paid the Special Assessment were damaged
                                          25   by paying money wrongfully demanded by Defendants.          Those putative
                                          26   class members who did not pay, according to Plaintiffs, were
                                          27   damaged because they were precluded from enjoying their membership
                                          28   rights.    These types of damage do not require consideration of each

                                                                                    12
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                                           1   member’s circumstances.
                                           2          Plaintiffs demonstrate that, with respect to their claim for
                                           3   intentional interference with contractual relations, common
                                           4   questions of law and fact predominate.        Defendants’ arguments do
                                           5   not warrant a contrary conclusion.
                                           6          B.      UCL Claim
                                           7          California’s UCL prohibits any “unlawful, unfair or fraudulent
                                           8   business act or practice.”      Cal. Bus. & Prof. Code § 17200.     The
                                           9   UCL incorporates other laws and treats violations of those laws as
                                          10   unlawful business practices independently actionable under state
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                                          11   law.       Chabner v. United of Omaha Life Ins. Co., 225 F.3d 1042, 1048
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                                          12   (9th Cir. 2000).      Violation of almost any federal, state or local
                                          13   law may serve as the basis for a UCL claim.        Saunders v. Superior
                                          14   Court, 27 Cal. App. 4th 832, 838-39 (1994).        In addition, a
                                          15   business practice may be “unfair or fraudulent in violation of the
                                          16   UCL even if the practice does not violate any law.”          Olszewski v.
                                          17   Scripps Health, 30 Cal. 4th 798, 827 (2003).         Plaintiffs’ UCL claim
                                          18   is premised on the statute’s unfairness prong.3
                                          19
                                          20          3
                                                      In their reply, Plaintiffs indicate that they intend to
                                               pursue a UCL claim under the statute’s fraud prong based on
                                          21   Defendants’ representations concerning the effect of a failure to
                                               pay the Special Assessment. Plaintiffs compare Defendants’
                                          22   statements that a Club member’s default on the Special Assessment
                                               will result in the forfeiture of their memberships to Bech’s
                                          23   current declaration, which states that the “non-payment of the
                                               Special Assessment, however, has not been used by Raintree Vacation
                                          24   Club, nor will it be used in the future, as a basis for the
                                               forfeiture of a member’s Club membership or associated timeshare
                                          25   interest.” Bech Decl. ¶ 6.
                                                    Although it is true that, under its fraud prong, the UCL does
                                          26   not require a showing of reliance by each putative class member,
                                               the named plaintiffs must show that they relied on the challenged
                                          27   statement. In re Tobacco II Cases, 46 Cal. 4th 298, 318 (2009).
                                               Plaintiffs do not point to evidence that all of them relied on the
                                          28                                                         (continued...)

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                                           1        Citing Lazar v. Hertz Corp., 69 Cal. App. 4th 1494 (1999),
                                           2   Defendants assert that a business practice cannot be unfair if it
                                           3   is legal.   Thus, Defendants contend, common questions of fact do
                                           4   not predominate with respect to this claim because it is necessary
                                           5   to determine whether the putative class members’ contracts
                                           6   authorized the Special Assessment, which requires an individualized
                                           7   inquiry into each putative class member’s intent when the contracts
                                           8   were executed.    This contention is rejected for the reasons stated
                                           9   above.
                                          10        Defendants also argue that, under two of the three tests
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                                          11   employed by California courts to determine whether a defendant
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                                          12   engaged in an unfair business practice against a consumer,4 this
                                          13   Court must determine whether each Club member’s alleged injury was
                                          14
                                                    3
                                                     (...continued)
                                          15   purported misstatements. Thus, the current record does not support
                                               certifying a class action with respect to a UCL fraud claim.
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                                                    4
                                                      In Cel-Tech Communications, Inc. v. Los Angeles Cellular
                                          17   Telephone Company, 20 Cal. 4th 163 (1999), the California Supreme
                                               Court enunciated the elements of a UCL claim brought by competitors
                                          18   under the UCL’s unfair prong. Since then, California courts of
                                               appeal have applied three tests to evaluate claims by consumers
                                          19   under the UCL’s unfair prong. See, e.g., Lozano v. AT&T Wireless
                                               Servs., Inc., 504 F.3d 718, 735-736 (9th Cir. 2007); Drum v. San
                                          20   Fernando Valley Bar Ass’n, 182 Cal. App. 4th 247, 256 (2010).
                                               Under one test, a consumer must allege a “violation or incipient
                                          21   violation of any statutory or regulatory provision, or any
                                               significant harm to competition.” Drum, 182 Cal. App. 4th at 256.
                                          22   Under the second test, a consumer is required to plead that (1) a
                                               defendant’s conduct “is immoral, unethical, oppressive,
                                          23   unscrupulous or substantially injurious to consumers” and (2) “the
                                               utility of the defendant’s conduct against the gravity of the harm
                                          24   to the alleged victim.” Id. (citation and internal quotation marks
                                               omitted). The third test, which is based on the Federal Trade
                                          25   Commission’s definition of unfair business practices, requires that
                                               “(1) the consumer injury must be substantial; (2) the injury must
                                          26   not be outweighed by any countervailing benefits to consumers or
                                               competition; and (3) it must be an injury that consumers themselves
                                          27   could not reasonably have avoided.” Id. at 257 (citation and
                                               internal quotation marks omitted). Defendants’ argument implicates
                                          28   the second element of the second and third tests.

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                                           1   outweighed by the benefits of the Special Assessment.          Defendants
                                           2   contend that those Club members who relinquished their memberships
                                           3   after the Special Assessment was charged might have realized no
                                           4   benefit, whereas those who maintained their memberships might have.
                                           5   However, under Plaintiffs’ theory of liability, the alleged harm
                                           6   was the assessment of an unauthorized fee.        Thus, the appropriate
                                           7   inquiry will be whether the charge was outweighed by the benefits,
                                           8   if any, that Club members could have enjoyed.         That a particular
                                           9   Club member decided to forego any benefits is immaterial.
                                          10        Defendants’ arguments are unavailing.        Plaintiffs demonstrate
For the Northern District of California




                                          11   that, with respect to their UCL claim under that statute’s
    United States District Court




                                          12   unfairness prong, common questions of law and fact predominate.
                                          13        C.    Affirmative Defenses
                                          14        Defendants contend that their affirmative defenses of
                                          15   voluntary payment and equitable offset require consideration of
                                          16   each putative class member’s circumstances.
                                          17              1.    Voluntary Payment
                                          18        California law provides that payments “‘voluntarily made, with
                                          19   knowledge of the facts, cannot be recovered.’”         Steinman v.
                                          20   Malamed, 185 Cal. App. 4th 1550, 1557 (2010) (quoting W. Gulf Oil
                                          21   Co. v. Title Ins. & Trust Co., 92 Cal. App. 2d 257, 266 (1949)).
                                          22   This affirmative defense is subject to the exception that payments
                                          23   “‘of illegal claims enforced by duress, coercion, or compulsion,
                                          24   when the payor has no other adequate remedy to avoid it, will be
                                          25   deemed to have been made involuntarily and may be recovered, but
                                          26   the payment must have been enforced by coercion and there must have
                                          27   been no other adequate means available to prevent the loss.’”
                                          28   Steinman, 185 Cal. App. 4th at 1558 (quoting W. Gulf Oil, 92 Cal.

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                                                 Case 4:10-cv-03125-CW Document 75 Filed 08/15/11 Page 16 of 18



                                           1   App. 2d at 264).    Duress, for the purposes of this defense,
                                           2   requires two inquiries: (1) whether a “reasonably prudent man”
                                           3   would have found “that in order to preserve his property or protect
                                           4   his business interests it is necessary to make a payment of money
                                           5   which he does not owe” and (2) whether the party demanding payment
                                           6   acted wrongfully, “with the knowledge that the claim asserted is
                                           7   false.”   Steinman, 185 Cal. App. 4th at 1558-59 (citation and
                                           8   internal quotation marks omitted).        The first component raises “a
                                           9   question for the trial court’s determination.”         Id. at 1558.
                                          10        Assuming that the voluntary payment affirmative defense
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                                          11   applies to consumer actions, Defendants’ invocation of it in this
    United States District Court




                                          12   case does not compel individualized inquiries.         Plaintiffs contend
                                          13   that any payment of the Special Assessment was made under duress.
                                          14   Under Steinman, the Court must first consider whether a reasonably
                                          15   prudent person would have found that making the payment was
                                          16   necessary, which is an objective question that does not require
                                          17   consideration of each Club member’s circumstances.          The second
                                          18   analysis focuses on Defendants’ actions and knowledge, and likewise
                                          19   does not mandate individual inquiries.
                                          20        Accordingly, Defendants’ proposed voluntary payment
                                          21   affirmative defense does not defeat Plaintiffs’ showing with regard
                                          22   to predominance.
                                          23              2.     Equitable Setoff
                                          24        Defendants contend that they are entitled to an equitable
                                          25   setoff for the value they may have conferred on Plaintiffs or other
                                          26   putative class members through improvements funded by the Special
                                          27   Assessment.     Assuming that such a defense applies here, it pertains
                                          28   to the amount each class member may receive as damages.            “The

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                                           1   potential existence of individualized damage assessments, however,
                                           2   does not detract from the action’s suitability for class
                                           3   certification.”       Yokohama v. Midland Nat’l Life Ins. Co., 594 F.3d
                                           4   1087, 1089 (9th Cir. 2010).
                                           5           Thus, Defendants’ proposed equitable setoff defense does not
                                           6   preclude class certification.
                                           7   III. Superiority
                                           8           Defendants argue that a class action is not a superior method
                                           9   to resolve this litigation because individual inquiries are
                                          10   required.      However, as already explained, individualized inquiries
For the Northern District of California




                                          11   are not necessary.       Having considered Plaintiffs’ papers, the Court
    United States District Court




                                          12   concludes that this action satisfies Rule 23(b)(3)’s superiority
                                          13   requirement.      Because Plaintiffs meet the requirements set forth by
                                          14   Rule 23, the Court certifies the proposed class.
                                          15                                       CONCLUSION
                                          16           For the foregoing reasons, the Court GRANTS Plaintiffs’ motion
                                          17   for class certification.        (Docket No. 44).     The following class is
                                          18   hereby certified pursuant to Rule 23(b)(3): “All persons who reside
                                          19   in the State of California and were charged the Special Assessment
                                          20   that was issued to owners of Raintree Vacation Club and related
                                          21   timeshare interests in or around October or November 2009.”
                                          22   Plaintiffs Curtis Berrien, Rose Huerta, Tina Musharbash, Fern
                                          23   Prosnitz, Michael Andler, Marcus Boness, Timothy Bonnell, Richard
                                          24   Buford, Elaine Cefola, Kenneth Davis and Jerome Garoutte are
                                          25   appointed to be representatives for this class, and their counsel,
                                          26   Girard Gibbs LLP, is designated as class counsel.
                                          27   //
                                          28   //

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                                           1        The hearing on the parties’ cross-motions for summary judgment
                                           2   and a further case management conference are set for February 16,
                                           3   2012 at 2:00 p.m.
                                           4        IT IS SO ORDERED.
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                                           6   Dated: 8/15/2011
                                                                                          CLAUDIA WILKEN
                                           7                                              United States District Judge
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For the Northern District of California




                                          11
    United States District Court




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